       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Thomas Robert Lienau
       v. Commonwealth of Virginia
       Record No. 0685-17-4
       Opinion rendered by Judge Petty on
        September 11, 2018

    2. Robert McKinley Blankenship
       v. Commonwealth of Virginia
       Record No. 1366-17-3
       Opinion rendered by Judge O’Brien on
        February 5, 2019

    3. Andre Jones
       v. Crothall Laundry and New Hampshire Insurance Company
       Record No. 1070-18-4
       Opinion rendered by Chief Judge Decker on
        February 12, 2019

    4. Raymond J. Hamilton
       v. Pro Football, Inc., t/a The Washington Redskins
           Great Divide Insurance Company
       Record No. 1091-18-4
       Opinion rendered by Chief Judge Decker on
        February 12, 2019

    5. Tony Jones
       v. Pro Football, Inc., t/a The Washington Redskins
           Great Divide Insurance Company
       Record No. 1219-18-4
       Opinion rendered by Judge Humphreys on
        February 12, 2019
   The following case in which the Court of Appeals issued a published opinion has been
disposed of by the Supreme Court:

1. Ryan Austin Collins
   v. Commonwealth of Virginia
   Record No. 1096-14-2
   Opinion rendered by Judge AtLee
    on July 21, 2015
   Upon remand from the Supreme Court of the United State, judgment of
     Court of Appeals affirmed by opinion rendered on March 28, 2019
   (151277)
